Case 3:Ol-CV-00150-.]PG Document 1 Filed 03/12/01 Pag-e 1 of 8 Page |D #1

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(Enter above the full name
of the plaintiff or plaintiffs in

this action) K@CW
vs. CaseNo: O/ */50~ Wm

(To be supplied by the Clerk of this Court)

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(Enter above the full name of ALL RZC`UZS+ .FOR \)UU.( 'Hll&‘

defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

COMPLAlNT UNDER THE CIVIL RIGHTS ACT, TfTLE 42 SECTION
1983 U.S. Code (state, county, or municipal defendants)

COMPLAlNT UNDER THE CONSTITUTION ("BIVENS" ACTION),
TITLE 28 SECTION 1331(3) U.S. Code (federal defendants)

OTHER (cite statute, if known) R`C»O QJ‘\`O~'\"U*C x

BEFORE FILLING OUT THIS COMPLAlNT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRUCTIONS CARL_?FULLY.

F…<

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I. Plaintiff(s):
A. Name: jig ram o 33 » `}icibot
B. List all aliases: j`<Q, bg j<O`(`Om 0
C. Prisoner identification number: C, 14ng ~ G 5 ,_l
D. Place of present confinement L) gp HQ( §C)(`l

E. Addressrj@© E)DX [OOO li QQQSQ

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases,
I.D. number, and current address according to the above format on a separate sheet of

paper.)
II. Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her

official position in the second blank, and his or her place of employment in the third
blank. Space for two additional defendants is provided in B and C.)

A. Defendant: \/\/C)\(ci@n t §jr@p@
Title: \i'\/O\t’ri€fl 11 63 Q Morion ll PO Bo)< lO(D 63`75(7
Place of Employment: 141 § ,`;) MQ{ |er

B. Defendam: 3 Q § BZSQQ;];§QQ§ §§ gi§>§ vagrng

Title: Ww QB§§Q[) §§%@gg §§
‘ O\_ \L`D ' O`(`l DC
Plaee of Employment: &`dgm` E)§ l[@[}§l fig QE§SQD

c. Defendam; M. `\ ` ~ ' r\,CJ
Title: C@`C,Q;_ mang%i?f', QIP\'¢ CO\Q‘\‘
Place Of Employm€nfr il 5 53 vacation \ii\DOi 5

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

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lII.

Exhaustion of Administrative Remedies

You are required to exhaust all your available administrative remedies before bringing
an action in federal court.

A. Is there a grievance procedure available at your institution?
YES ()() NO ( ) If there is no grievance procedure, skip to F.
B. Have you filed a grievance concerning the facts in this complaint?
YES (X) No ( >

C. If your answer is YES:

1. What steps did you take?

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2. What was the result?

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/\/,o;,\/er P\</:,mO\/Ql
3. lf the grievance was not resolved to your satisfaction, did you appeal`?

What was the result (if there was no procedure for appeal, so state.)

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D. If your answer is NO, explain why not:
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E. Is the grievance procedure now completed? YES ( ) NO (X')

F. If there is no grievance procedure in the institution, did you complain to

aurhoriries? YES ()<) No ( )
G. If your answer is YES:

1. What steps did you take?

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2. What was the result? 4 `
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H. If your answer is NO, explain why not:

 

 

 

 

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IV. List ALL lawsuits you (and your co~plaintiffs, if any) have filed in any state or
federal court (including the Central and Southern Districts of Illinois):

A. Name of case and docket num,ber: KQDQ" ` Z']'Q' [QmQ y Lf &Qgch b{ ii

B. Approximate date of filing lawsuit: /Q »- _7, 0 _ q7
C. List all plaintiffs (if you had co-plaintiffs), including any aliases: 15 £

 

 

 

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E. Court in which the lawsuit was filed (if federal _court, name the district; if state
court, name the county): l I F /

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F. Name of judge to whom case was assigned: gladgz D l lQHZf

""" rc` THZF rr 1

G. Basic claim made: Oi§`f`> UC\H'

 

 

H. Disposition of this case (for example: Was the case dismissed? Was it appealed?

Is ii still pending?) §O_le_cire_pzodm§_fzom,@_mdé__
7 § lof '

 

 

H. Approximate date of disposition:

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE
THE ADDITIONAL LAWSUITS ON AN()THER PIECE ()F PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY MLED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAlNTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

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V. Statement of Claim:

State here as briefly as possible the facts of your case. Describe precisely how each
defendant is involved. Include also the names of other persons involved, dates, and
places Do not give any legal arguments or cite any cases or statutes. If you intend
to allege a number of related claims, number and set forth each claim in a separate
paragraph. (Use as much space as you need. Attach extra sheets if necessary.)

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VI. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments
Cite no cases or statutes.

f th

   

 

 

I declare under penalty of perjury that all facts
given in the complaint are true and correct.

signed this 33 day Of 3 ,H:):Qol

 

 

(Signature of plaintiff or plaintiffs)

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(I.D. Nurnber)
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il aaa§<t

 

(Address)

